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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                         Case No.: 23-80050-Cr-Cannon/Reinhart


   UNITED STATES OF AMERICA,

   v.

   MONFORT DESIR,

         Defendant.
   ______________________________/

                          REPORT AND RECOMMENDATION
                       FOLLOWING CHANGE OF PLEA HEARING

         THIS CAUSE is before the Court upon Order of Reference from United

   States District Judge Aileen M. Cannon. A change of plea hearing was held on

   6/30/2023, which was attended by the Defendant, his counsel ROBERT ADLER,

   and Assistant United States Attorney SHANNON O’SHEA DARSCH.

          1.    The Court found the Defendant competent to proceed with a change

   of plea colloquy.

          2.    The Court advised the Defendant of the right to have the hearing

   conducted by the presiding United States District Judge assigned to the case. The

   Court further advised the Defendant that, regardless of who conducted the plea

   hearing, the sentence would be imposed by the presiding United States District

   Judge, who would make all findings and rulings regarding such sentence and

   would conduct a sentencing hearing.         The Defendant and the Government

   consented to the undersigned judge conducting the change of plea hearing.


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           3.     The Court then conducted a plea colloquy in accordance with the

   outline set forth in the Benchbook for U.S. District Judges and in conformity with

   the requirements of Federal Rule of Criminal Procedure 11.

           4.     A written plea agreement has been entered into by the parties and

   made part of the record. This Court reviewed the plea agreement and had the

   Defendant acknowledge signing the plea agreement. This Court also advised the

   Defendant of the statutory maximum penalties and any maximum sentences

   which could be imposed in this case.

           5.     The Defendant acknowledged being fully satisfied with the services

   of his attorney and that he had full opportunity to discuss all facets of his case with

   his attorney − including the discovery, potential defenses, and potential motions

   to suppress.

           6.     The Defendant pled guilty to Counts 1 through 5 of the Indictment.

   Counts 1 through 5 charge the defendant with distribution of a controlled

   substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

   (b)(1)(C).

           7.     The parties submitted an agreed written factual basis for the plea,

   which was signed by the Defendant, his counsel, and the Government. This factual

   proffer includes all of the essential elements of the offense to which the Defendant

   pled guilty.    The written factual basis was made part of the record.            The

   Government orally summarized the factual basis for the plea on the record,




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   including the essential elements of each offense. Defendant acknowledged that he

   signed the factual proffer and that all the statements contained therein are true.

            8.   Defendant has been referred to the United States Probation Office for

   the preparation of a pre-sentence investigation report. The sentencing hearing will

   be conducted at a time scheduled by separate order by the United States District

   Judge.


         Accordingly, based upon the foregoing and the plea colloquy conducted by

   this Court, the undersigned RECOMMENDS that the Defendant, MONFORT

   DESIR, (1) be found to have freely, knowingly, and voluntarily entered a guilty

   plea to Counts 1 through 5 of the Indictment., (2) that his guilty plea be accepted,

   (3) that he be adjudicated guilty of the offenses, and (4) that a sentencing hearing

   as scheduled by the U.S. District Judge be conducted for a final disposition of this

   matter.

                          NOTICE OF RIGHT TO OBJECT

         A party shall serve and file written objections, if any, to this Report and

   Recommendation with the Honorable Aileen M. Cannon, United States District

   Judge for the Southern District of Florida, within FOURTEEN (14) DAYS of

   being served with a copy of this Report and Recommendation. Failure to timely file

   objections shall constitute a waiver of a party's "right to challenge on appeal the

   district court’s order based on unobjected-to factual and legal conclusions." 11th

   Cir. R. 3-1 (2016).




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         If counsel do not intend to file objections, they shall file a notice

   advising the District Court within FIVE DAYS of this Report and

   Recommendation.

         DONE and RECOMMENDED in Chambers at West Palm Beach, Palm

   Beach County, in the Southern District of Florida, this 30th day of June 2023.




                                   ________________________________________
                                   BRUCE E. REINHART
                                   UNITED STATES MAGISTRATE JUDGE




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